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Grand Jury in open Court, in the presence
of the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington

August 20, 2020
WILLIAM M. McCOOL, Clerk

By — Deputy

 

 

 

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
MARGARET AISLINN CHANNON,

Defendant.

 

 

COUNT 1

NO. CR20-129 JCC

INDICTMENT

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did maliciously damage and destroy, and attempt

to damage and destroy, by means of fire, a vehicle, namely, Vehicle 1, that was used by

the Seattle Police Department in interstate and foreign commerce and in an activity

affecting interstate and foreign commerce, and that was in whole or in part owned and

possessed by the Seattle Police Department, an institution and organization receiving

Federal financial assistance.

All in violation of Title 18, United States Code, Section 844(f)(1) and 844(i).

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COUNT 2
(Arson)

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did maliciously damage and destroy, and attempt
to damage and destroy, by means of fire, a vehicle, namely, Vehicle 2, that was used by
the Seattle Police Department in interstate and foreign commerce and in an activity
affecting interstate and foreign commerce, and that was in whole or in part owned and
possessed by the Seattle Police Department, an institution and organization receiving
Federal financial assistance.

All in violation of Title 18, United States Code, Section 844(f)(1) and 844(i).

COUNT 3
(Arson)

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did maliciously damage and destroy, and attempt
to damage and destroy, by means of fire, a vehicle, namely, Vehicle 3, that was used by
the Seattle Police Department in interstate and foreign commerce and in an activity
affecting interstate and foreign commerce, and that was in whole or in part owned and
possessed by the Seattle Police Department, an institution and organization receiving
Federal financial assistance.

All in violation of Title 18, United States Code, Section 844(f)(1) and 844(i).

COUNT 4
(Arson)

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did maliciously damage and destroy, and attempt
to damage and destroy, by means of fire, a vehicle, namely, Vehicle 4, that was used by
the Seattle Police Department in interstate and foreign commerce and in an activity
affecting interstate and foreign commerce, and that was in whole or in part owned and

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possessed by the Seattle Police Department, an institution and organization receiving
Federal financial assistance.
All in violation of Title 18, United States Code, Section 844(f)(1) and 844(i).
COUNT 5
(Arson)

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did maliciously damage and destroy, and attempt
to damage and destroy, by means of fire, a vehicle, namely, Vehicle 5, that was used by
the Seattle Police Department in interstate and foreign commerce and in an activity
affecting interstate and foreign commerce, and that was in whole or in part owned and
possessed by the Seattle Police Department, an institution and organization receiving
Federal financial assistance.

COUNT 6
(Use of Fire to Commit a Felony)

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did use fire to commit a felony which may be
prosecuted in a court of the United States, namely, Obstructing Law Enforcement
Officers During a Civil Disorder, as alleged below in Count 7.

All in violation of Title 18, United States Code, Section 844(h)(1).

COUNT 7
(Obstructing Law Enforcement Officers During a Civil Disorder)

On or about May 30, 2020, at Seattle, in the Western District of Washington,
MARGARET AISLINN CHANNON did commit, and attempt to commit, acts,
specifically, the destruction of Vehicles 1-5 which were owned and used by the Seattle
Police Department, to obstruct, impede, and interfere with law enforcement officers
lawfully engaged in the lawful performance of their official duties incident to and during
the commission of a civil disorder, which in any way or degree obstructed, delayed, and

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I || adversely affected commerce and the movement of any article and commodity in
2 || commerce, and the conduct and performance of a federally protected function.
3 All in violation of Title 18, United States Code, Section 231(a)(3).
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5 A TRUE BILL:
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i Signature of foreperson redacted
8 pursuant to the policy of the Judicial
9 Conference of the United States
10 FOREPERSON
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17 TODD GREENBERG
Assistant United States Attorney
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INDICTMENT/United States v. Channon - 4 UNITED STATES ATTORNEY

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